Case 3:14-cr-00175-WHA Document 1428-23 Filed 08/25/21 Page 1 of 2




        Exhibit X-1
              Case 3:14-cr-00175-WHA Document 1428-23 Filed 08/25/21 Page 2 of 2
                                    E
                                                                          2,300'
                                    A



                                             E
                                             A                                                                2,00
                                                                                                                   0'

                                                            2,20 0'                                                          '
                                                                                                                           00
                                                                                                                        1,9



                                             E
                                             A
                                                                              Sw
                                                                                am
                                             E
                                             A
                                                                                  p
                                                                                       Cr
                                                                                         ee
                                             Stor                                           k
                                                 ri
                                                 eR

                                                  E
                                                  A
                                                   d




                                                     E
                                                     A

                                                     E
                                                     A




                                                                                                                                                       r      e
                                                                                                                                                     ther Riv
                                                 E
                                                 A




                                                                                                                                                         ea
                                Storrie Rd




                                                                                                                                                  For k F
                                             E
                                             A




                                                                                                                                                 Nor th
                                         E
                                         A


                                        E
                                        A                                                                                               Cresta Dam
                                                                                                                                                   (
                                                                                                                                                   !

                          E
                                                                                                                                                                        70
                                                                                                                                                                        V
                                                                                                                                                                        U
                          A
                                                                                                                                                                  E
                                                                                                                                                                  A

                  E
                  A
                                                                                                                                                                  "
                                                                                                                                                                  )




                                                                                                                                                                                                '
 BUCKS




                                                                                                                                                                                              00
                                                                                                                                                                                           2,0
              E
              A                                                                                                  E
 CREEK 1101
                                                                                                                 A
                                                                                                          E
                                                                                                          A
                                                                                                  E
              !




                                                                                                  A
              E
              A                                             600-800
                                                            Foot Fire                     E
                                                                                          A
                                                                      E
                                                                      A

                                                 (EA 100403909
           100403908 E
                     A!
                                                 !
                                                  È




                      F
                      (  È
           17733                        Approximately
                                            260'
                                                                                                                                                                                 2,000'
                        e Rd




                                                                                                                                                                      1,900'
                           ri
                      Stor




Bucks Creek 1101 Area of Interest
    Bucks Creek 1101                    E
                                        A            Wood Pole               !
                                                                             (     Tree on Line                           (
                                                                                                                          !      Cresta Dam

                                       F
                                       !             Fuse                          Troubleman Viewed                             600-800 Foot Fire                                 8/23/2021
                                       (
                                                                                   Line with Binoculars
                                                                             "
                                                                             )
                                                                                                                   While every effort has been made to produce accurate



o
    0                        0.08                                0.16                                              maps, it is possible that plotting might not reflect actual
                                                                    Miles                                         locations, as determined by Global Positioning Systems
                                                                                                                      or other physical location measuring techniques.
                                                                                Feet
    0                               500                                      1,000                                 \\fairfield07\gis\public\FIRE_RESP ONS E\dixie\mxd_lxfr\bucks_creek_1101_8x11v2.mxd
